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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                         v.                        ) Case No. 1:21-cr-92-TNM
                                                   )
                                                   )
 COUY GRIFFIN,                                     )
                                                   )
         Defendant.                                )
                                                   )

    DEFENDANT GRIFFIN’S REPLY IN RESPONSE TO THE GOVERNMENT’S
  OPPOSITION TO HIS MOTION FOR DISCOVERY AND FOR AN EVIDENTIARY
  HEARING IN SUPPORT OF HIS CLAIM OF SELECTIVE ENFORCEMENT AND
                           PROSECUTION

        Defendant Griffin’s motion for discovery in support of his claim of selective enforcement

and prosecution contended that although over 2,000 protesters unlawfully entered the Capitol’s

restricted area on January 6, according to the government, he is the only one charged under 18

U.S.C. § 1752 who did not enter the Capitol building or allegedly commit a felony outside it.

ECF No. 67. Over a year after the event, over 1,000 potential § 1752 misdemeanants remain

uncharged (2,000 less the 725 currently charged). Griffin is in a charging set of one.

        The government’s opposition does not deny this. ECF No. 71. It does not cite one

protester charged under § 1752 matching Griffin’s alleged conduct. Instead, it argues that the

Court’s opinion denying Griffin’s motion to dismiss the information concluded that he has not

been selectively prosecuted. Not so. Griffin’s prior motion did not make a selective prosecution

argument and the Court’s opinion, filed six months ago, did not address the arguments and

statistics Griffin raises in the present motion.




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        The rest of the government’s opposition is simply summarized. While there may be over

one thousand protesters “similarly situated” to Griffin who have not been charged under § 1752,

the government’s decision to charge him alone cannot be attributable, even in part, to his

obnoxious and offensive commentary emphasized in its briefs. The similarly situated

“presumably share his politics.” Thus, Griffin cannot have been “singled out based on his

political views.” Rather, he “merited different treatment” from the uncharged because unlike

them he expressed his political views—at certain decibel levels. Griffin’s political speech was

“more blatant conduct.” It was “leadership.” Criminally blatant leadership. Organizer. ECF No.

71, p. 8.

        The mistake here is not hard to see. The government dresses up Griffin’s protected

political expression in lazy criminal law jargon. Its admission that the expression of his political

speech was the basis on which he was selected for charging is another reason to grant Griffin’s

motion for discovery, or to dismiss the misdemeanor charges now.

        A.      This is Griffin’s only selective prosecution motion, so the Court did not
                previously reject it

        The government’s primary argument is that the Court has already concluded that Griffin

is not selectively prosecuted. ECF No. 71, pp. 6-7. That cannot be the case, as Griffin has filed

one selective prosecution motion. This is the one.

         The government refers to the last four paragraphs of the Court’s opinion denying

Griffin’s motion to dismiss the Amended Information. U.S. v. Griffin, 2020 U.S. Dist. LEXIS

12392, at *17-18 (D.D.C. July 2, 2021). The passage begins by observing that “Griffin

complains of discriminatory prosecution.” Id. at *17. Griffin explained in oral argument on his

prior motion that he was not then asserting he was selectively prosecuted. As the Court’s

opinion goes on to note, selective prosecution involves discerning the criteria that motivated the


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government’s charging decision. Id. Griffin’s motion-to-dismiss argument, however, did not

require the Court to determine whether the charging decision was based, even in part, on the

offensive exercise of his constitutional rights. His argument instead concerned vagueness

doctrine. ECF No. 32, pp. 16-20. True, the Court observed that Griffin “point[ed] to ‘hundreds

or perhaps thousands of other individuals remaining in the same area’ as him on January 6 who

have not faced charges under 18 U.S.C. § 1752.” 2020 U.S. Dist. LEXIS 12392, at *18-19. Here

too Griffin points to over one thousand protesters similarly situated to him but not charged under

§ 1752. But even if there is some conceptual overlap, a significant distinction exists between

vagueness doctrine and selective prosecution.

       Vague laws offend the due process guarantee of the Fifth Amendment not just because

they fail to give ordinary people fair notice of prohibited conduct but because their

“standardless[ness] . . . invites arbitrary enforcement.” Johnson v. United States, 576 U.S. 591,

595 (2015). Selective prosecution offends the equal protection component of the Fifth

Amendment where the government’s charging decision is based not just on the sufficiency of the

evidence but on “an unjustifiable [criterion] such as race, religion, or other arbitrary

classification.” United States v. Armstrong, 517 U.S. 456, 464 (1996). Thus, arbitrary

prosecution can involve either or both concepts. But a determination that a law is vague enough

to “invite” arbitrary enforcement does not require the Court to find that the government has

based a charging decision on a specifically identified “unjustifiable” charging criterion. And, on

the other hand, the Court may determine that the government is selectively prosecuting a

defendant even if the law at issue is not intolerably vague.

       Griffin’s motion to dismiss argued that the government’s novel interpretation of §

1752(c) was vague enough to invite arbitrary enforcement. If there is no statutorily defined



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entity with clear responsibility for defining the legally enforceable security perimeter for a Secret

Service protectee, Griffin argued, the matter of where a person may lawfully “enter” or “remain”

in the indeterminate presence of a protectee is that much more subject to varying standards. He

pointed to hundreds or thousands of protesters near Griffin on January 6 who were not charged

under § 1752(a) to show that the uncertainty surrounding the restricted area’s gatekeeper invited

arbitrary enforcement against him. But finding for Griffin on that point would not have required

the Court to throw back the curtain on the government’s internal charging deliberation. 1

       By extension, it does not follow from the Court’s conclusion that § 1752(c) is not

unconstitutionally vague that it rejected a selective prosecution argument Griffin had not then

made. More to the point here is the reason the Court gave for “hesitat[ing] to credit” Griffin’s

contention that there were “hundreds or thousands” of other uncharged protesters in the restricted

area. Those were “unsupported numbers” in July 2021, “especially as the Government

continue[d] to charge new individuals with offenses related to January 6.” 2020 U.S. Dist.

LEXIS 12392, at *19. Six months later, and over a year after the event, the government’s

opposition tacitly concedes there were indeed over 1,000 protesters in the “restricted area” most

or all of whom did not enter the Capitol building and who are not accused of committing felony

offenses outside it—and that among those, Griffin is the only one charged under § 1752(a). This




1
  Griffin did not seek judicial review of “‘the exercise by the Executive of his discretion in
deciding when and whether to institute criminal proceedings.’” 2020 U.S. Dist. LEXIS 12392, at
*18 (quoting U.S. v. Fokker Servs. B.V., 818 F.3d 733, 741 (D.C. Cir. 2016)). Fokker did not
address a selective prosecution argument. It held that a district court erred in rejecting a joint
motion to toll the Speedy Trial Act (STA) in furtherance of a deferred prosecution agreement,
where the court did not like the terms. 818 F.3d at 738. The question whether a court may use
the STA to foment a case or controversy unwanted by the parties is not dangerous terrain on
which to make a general statement in support of executive discretion.

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fact is no longer “unsupported”—the government does not contest it. The Court’s July opinion

does not decide the outcome here.

        B.      Griffin has adduced more than “some evidence tending to show” he is
                selectively prosecuted and thus discovery is warranted

                1.     Griffin has shown over 1,000 similarly situated uncharged protesters

        As discussed, the government does not dispute that there were over 1,000 protesters in

the restricted area on January 6 who have not been charged under § 1752(a). The government’s

opposition provides no argument as to why the uncharged are not what they appear to be—

“similarly situated” to Griffin. He has therefore satisfied the first Armstrong showing required to

obtain discovery from the government. Armstrong, 517 U.S. at 469.

        The function of the § 1752(a) offense must be kept in mind. The offense is unauthorized

proximity to a Secret Service protectee. Not “blatant” speech, or “leadership,” or megaphoning,

“We’re not gonna get our election stolen from China,” ECF No. 71, p. 3—it is purely a crime of

propinquity. The defendant got too close (or, in the case here, did not get close at all because the

Secret Service protectee was underground and not approachable by Griffin or anyone else). That

is the crime. On that criterion, which is what makes this a § 1752(a) case and not a newspaper

column, the over 1,000 uncharged protesters are not just “similarly situated,” they are identically

situated.

        The government cites the statement in the Court’s motion-to-dismiss opinion that “the

Government continues to charge new individuals with offenses related to January 6.” ECF No.

71, p. 8. True, Griffin might be the only one charged under § 1752(a) among over one thousand

similarly situated protesters, and it may be over a year after the event, but that might change in

the future. One or two more Griffins might pop up in 2023. If over 1,000 uncharged

“comparators” a year on from the criminal event is not even “some evidence tending to”


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establish Armstrong’s “similarly situated” element, it may be better for the Court to directly hold

that the decision is something to be cited and not followed.

       Finally, the government says that, unlike the “comparator class,” “Griffin whipped up the

mob on the west terrace.” ECF No. 71, p. 8. Helpfully, the government quotes much of Griffin’s

brief speech on this terrace. Id., pp. 2-3. The Court can see for itself that none of Griffin’s

words comes close to incitement. He does not encourage anyone to breach the Capitol or

commit any other crime. Equating “joining in a chant of ‘Free the people!’” with “whipp[ing] up

the mob” is exaggeration unworthy of argument in federal court. This is a place where

defendants can be sentenced to 20-year mandatory minimums; arguing that Griffin was selected

for federal prosecution for announcing “we aren’t taking no for an answer” is not just an

admission that Griffin was selectively prosecuted, it is also prosecutorial bathos. In any case, the

government’s premise is mistaken. There are quite a few examples of protesters in the restricted-

area comparator class who appear to have saliently incited others to enter the Capitol building—

and yet remain uncharged under § 1752(a) a year on. 2 Griffin has therefore adduced, at the least,

“some evidence tending to show” uncharged and similarly situated protesters.

               2.      Griffin has provided “some evidence” that the decision to charge him
                       was motivated by his protected political expression

       Even if there are over 1,000 protesters in the uncharged comparator class, the government

next argues, they “presumably shared his politics,” so the decision to charge Griffin alone could




2
 E.g., Arizona man went to Washington for day of Capitol riot, appears to talk about plans in
video, AZCentral, Jan. 12, 2021,
https://www.azcentral.com/story/news/local/arizona/2021/01/11/fbi-capitol-investigation-
arizona-trump-supporter/6624406002/. Griffin does not cite this example to imply that the
government was somehow responsible for the actions of this or any other protester, but for
precisely the opposite reason: even bona fide protesters in the comparator class who encouraged
others to enter the Capitol remain uncharged while Griffin, alone, has been.
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not have been based on the “unjustifiable [criterion]” of Griffin’s exercise of his right to political

expression. ECF No. 71, pp. 8-9. The government’s opposition itself shows this not to be the

case.

        The government says that Griffin is different from the comparator class because unlike

them, he “whipped up the mob.” ECF No. 71, p. 8. Griffin showed above that his speech does

not come close to incitement—but the government’s argument is revealing. The government sets

out the specific language by which Griffin “whipped up the mob”:

        Griffin accessed the inauguration platform, spoke through a bullhorn, and asked the
        crowd to pray. He then joined in a chant of “Free the people!,” turned towards Struck’s
        camera, and stated, “It’s a great day for America. The people are showing that they have
        had enough. People are ready for fair and legal elections, or this is what you’re gonna get
        and you’re gonna get more of it. . .And we’re not going anywhere, we aren’t taking no
        for an answer. We’re not gonna get our election stolen from us from China. This is an
        America that’s had enough right here.”

ECF No. 71, p. 3.

        The Court should be clear that the government is explicitly stating that Griffin was

appropriately selected for prosecution on the basis of making the above-quoted remarks at the

U.S. Capitol. In the government’s criminal law jargon, this is appropriately to charge Griffin

based on “leadership” and “blatant conduct.” ECF No. 71, p. 8. In fact, it is protected speech.

        The government’s opposition concludes with a stand-alone section on “Griffin’s cursory

First Amendment allegations.” ECF No. 71, p. 10. The government does not understand.

Selective prosecution occurs where the charging decision is made “at least in part because of, not

merely in spite of” an unjustifiable criterion. Wayte v. United States, 470 U.S. 598, 610 (1985).

Such criteria include “a suspect’s exercise of constitutional rights through participation in

political activity.” United States v. Hastings, 126 F.3d 310, 313 (4th Cir. 1997). If Griffin was




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selected for prosecution from the comparator class at least partly because the salient exercise of

protected speech set him apart from the comparators, he was selectively prosecuted.

       Contrary to the government’s apparent assumption, Griffin is not required to successfully

mount a facial or as-applied challenge to § 1752(a) in order to establish selective prosecution.

The argument is that Griffin’s equal protection right under the Fifth Amendment was infringed

when he was selected for prosecution under that statute at least in part because of the exercise of

his right to expression. If Griffin were required to succeed first in a facial or as-applied

challenge to the charge at issue in order to show he was prosecuted at least in part because of the

exercise of his protected expression, there would be no need for the selective prosecution

doctrine in the first place. In any event, Griffin will show that his speech is protected expression

under this Circuit’s precedent.

       The government quotes from the Court’s decision in another January 6 case: “‘No matter

Defendant’s political motivations and any political message [he] wished to express, this alleged

conduct is simply not protected by the First Amendment.’” ECF No. 71, p. 10 (quoting U.S. v.

Nordean, 21-cr-175-TJK, ECF No. 263 (D.D.C. Dec. 28, 2021)). As the government knows, this

citation does not do much work.

       First, the government omits the line immediately preceding its quote from the Nordean

opinion. The omission is misleading. The antecedent to “this alleged conduct”: “[The

Defendants] are charged with conduct involving acts of trespass, depredation of property, and

interference with law enforcement, all intended to obstruct Congress’s performance of its

constitutional duties.” 21-cr-175, ECF No. 263, p. 29. By contrast, Griffin is not charged with

most of those crimes, and the “trespass” allegation here does not contend—and the speech at

issue does not show—he “intended to obstruct Congress’s performance of its constitutional



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duties”—to the extent that means something more than expressing opposition to an act of

Congress while on Capitol grounds, a protected activity. ECF No. 31. 3

       Second, unlike the defendant in that case, Griffin did not enter the Capitol building. The

place distinction has a constitutional dimension. Two cases omitted from both the Nordean

decision and the government’s opposition here are apposite. Lederman v. United States, 291

F.3d 36 (D.C. Cir. 2002); Jeannette Rankin Brigade v. Chief of Capitol Police, 342 F. Supp. 575

(D.D.C. 1972) (three-judge panel) sum. aff’d 409 U.S. 972 (1972).

       The Court has seen many January 6 cases charging the misdemeanor offense of parading

in the Capitol Building. 40 U.S.C. § 5104(e)(2)(G). It has seen far fewer charges of parading on

the Capitol Grounds. § 5104(f)(1). Actually, it has seen none. Why has the government not

charged the latter offense given so many January 6 protesters on the Capitol Grounds? Are not

the government’s allegations about Griffin’s “blatant” speech, “leadership,” and “whipping up”

people effectively saying that he was “parading” or “demonstrating” on the Grounds?

       There is a very specific reason the government has repackaged that offense as a § 1752(a)

violation here. A special panel of this Court held that the parading-on-the-Grounds offense is

void on its face on First Amendment grounds. Jeannette Rankin Brigade, 342 F. Supp. at 587.

Because the Supreme Court summarily affirmed, it is binding precedent. Lederman, 291 F.3d at

41.



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  The defendant in Nordean did not argue that depredation of property and interference with law
enforcement constitute protected expression. Instead, his First Amendment argument concerned
the unprecedented application of the obstruction-of-justice crime in § 1512(c)(2) to nonviolent
protest that occurred exclusively outside the Capitol building and on ground that has been held a
public forum by the D.C. Circuit. If the government were correct that even nonviolent
demonstration outside the Capitol in protest of, e.g., legislation constitutes “attempted corrupt
influencing of official proceedings,” American history’s uncharged felons would populate the
National Mall several times over. So, the Nordean Court addressed an argument the defendant
did not make.
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       Former Congresswoman Jeannette Rankin planned a protest of the Vietnam War at the

Capitol. The plan entailed 5,000 protesters “march[ing] in a body from Union Station to the East

Front Plaza of the Capitol” where they would protest the war. 342 F. Supp. at 578. (As the

Court knows, the East Front Plaza lies within the restricted area in Griffin’s case. ECF No. 33,

p. 2.) The Chief of the Capitol Police informed Rankin that the march would violate §

5104(f)(1). Rankin sued the Chief, asserting that § 5104(f)(1) was facially invalid. A three-

judge court empaneled to consider the constitutional issue agreed. The first question was

whether there is a First Amendment “right to assemble in the Capitol Grounds.” Id. at 583. The

answer is yes, “The Capitol Grounds (excluding such places as the Senate and House floors,

committee rooms, etc.)” is a public forum. Id. at 584 (emphasis added). The court explained the

difference between criminalizing parading near courthouses and the circumstances at the Capitol:

       [T]he integrity of the judicial process could not survive in an atmosphere of mob
       excitement. But while traditionally, the judiciary does not decide cases by reference to
       popular opinion, the fundamental function of a legislature in a democratic society
       assumes accessibility to such opinion.

342 F. Supp. at 584 (cleaned up).

       The second question: the extent to which the government may reasonably regulate the

time, places and manner in which assembly may take place in a public forum like the Capitol

Grounds. Here, the court held, “the rights to free speech and assembly may not be abridged in

the guise of regulation, and the state interest which may supersede these rights must ‘[rise] far

above public inconvenience, annoyance, or unrest . . .There is no room under our Constitution

for a more restrictive view.’” 342 F. Supp. at 584 (quoting Terminiello v. City of Chicago, 337

U.S. 1, 4 (1949)). The court settled on the balancing test in United States v. O’Brien, 391 U.S.

367 (1968), under which state restrictions on expression are valid if (1) the regulation furthers an

important or substantial government interest, (2) the governmental interest is unrelated to the

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suppression of free expression, and (3) the incidental restriction on First Amendment rights is no

greater than is essential to the furtherance of that interest. 342 F. Supp. at 584 (citing O’Brien,

391 U.S. at 367).

       Section 5104(f)(1) failed the O’Brien test because the “desire of Congress” for “serenity”

was overbalanced by “the principles of the First Amendment, whose ‘function . . . under our

system of government is to invite dispute,’ and which ‘may indeed best serve its high purpose

when it induces a condition of unrest, creates dissatisfaction with conditions as they are, or even

stirs people to anger.’” 342 F. Supp. at 585 (quoting Terminiello, 337 U.S. at 4).

       Similarly, in Lederman the D.C. Circuit considered a Capitol Grounds regulation that

banned “demonstration activity” near the Capitol building. 291 F.3d at 39. Here is what

“demonstration activity” meant:

       Parading, picketing, leafleting, holding vigils, sit-ins, or other expressive conduct or
       speechmaking that conveys a message supporting or opposing a point of view and has
       the intent, effect or propensity to attract a crowd or onlookers, but does not include
       merely wearing Tee shirts, buttons, or other similar articles of apparel that convey a
       message.

Id. (italics and emboldening added).

       Lederman approached the “foot of the Senate steps on the Capitol’s East Front.” 291 F.3d

at 39. Carrying a sign that read “Stop Arresting Artists,” he distributed leaflets to passerby and

harangued them about a lawsuit. Capitol Police informed him that he could not demonstrate at

the foot of the steps but that he could continue “if he moved to the lawn on the far side of the

paved East Front—still in the central part of the Capitol Grounds but approximately 250 feet

from the Capitol.” Id. at 40. Lederman refused, continuing to demonstrate at the Capitol steps.

       After his arrest, Lederman challenged the demonstration ban as facially unconstitutional.

The court of appeals began its analysis with the observation that “courts have long recognized



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that the Capitol Grounds as a whole meet the definition of a traditional public forum.” 291 F.3d

at 41 (emphasis added). More specifically, the Lederman Court adopted the definition of

“grounds” used in Jeannette Rankin Brigade: “grounds” means the “Grounds (excluding such

places as the Senate and House floors, committee rooms, etc.),” i.e., fora not inside the building.

Id. The government argued that the East Front sidewalk (immediately below the Senate steps)

was different from the rest of the Grounds because it “abuts the Capitol Building,” “ha[d] never

been available to the public for expressive activity,” was “not consistent with public debate and

assembly,” and its “function as a security perimeter around the Capitol is equally incompatible

with public use.” 291 F.3d at 43. The D.C. Circuit rejected all this. The government failed to

show that the sidewalk’s use was “overwhelmingly specialized.” Id. 4

       The government has made no argument whatever that the steps on the Capitol’s west

front, where Griffin led a prayer, are not a public forum under Jeannette Rankin Brigade and

Lederman. The speech on which it explicitly states the decision to select Griffin for charging

from the comparator class was based does not come close to incitement. Brandenburg v. Ohio,

395 U.S. 444 (1969) (forbidding the proscription of advocacy of the use of force or of law

violation except where such advocacy is directed to inciting or producing imminent lawless

action and is likely to incite or produce such action). Rather, Griffin’s was “speechmaking” that

had “the intent, effect or propensity to attract a crowd or onlookers.” Lederman, 291 F.3d at 39.

       Again, the Court need not address whether § 1752(a) is facially invalid under these

decisions as a time, place and manner restriction. The equal protection question here is whether

the government’s decision to charge Griffin was based, even in part, on the exercise of a



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 The Court went on to hold, under the narrow-tailoring analysis of United States v. Grace, 461
U.S. 171 (1983), that the “demonstration activity” ban was facially unconstitutional. 291 F.3d at
45.
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constitutional right—not whether the government’s interest in § 1752(a) may never overbalance

the exercise of that right under time, place and manner precedent. Griffin had the “right to

assemble in the Capitol Grounds,” Jeannette Rankin Brigade, 342 F. Supp. at 583, and to

perform “speechmaking” there. Lederman, 291 F.3d at 39. Whether or not valid time, place and

manner restrictions existed, the government may not choose to prosecute Griffin and not

similarly situated protesters because of Griffin’s protected speech.

       The government contends that Griffin was appropriately chosen for prosecution among

the similarly situated because of the salient exercise of his speech in the Grounds. ECF No. 71,

p. 8. Thus, Griffin has adduced “some evidence tending to show” that the decision to charge him

was based on an “unjustifiable [criterion.]” Armstrong, 517 U.S. at 464.

       C.      The government misunderstands selective-enforcement law

       Griffin’s motion showed that his burden to obtain discovery on a claim of selective

enforcement is substantially lower than that set forth in Armstrong. ECF No. 67, p. 9. The

government’s response is as mistaken as it is brief.

       The government suggests that selective enforcement doctrine only applies “in the

particular context of ‘reverse sting operations’ not applicable here.” ECF No. 71, p. 9. Not so.

While that fact pattern occasioned further development of selective enforcement law, the

rationale supporting a burden for discovery lower than that set forth in Armstrong does not turn

on anything unique to reverse sting operations. Rather, as Judge Easterbrook has explained, the

courts should be more amendable to selective enforcement claims because unlike prosecutors,

law enforcement agents “are not protected by a powerful privilege or covered by a presumption

of constitutional behavior.” United States v. Davis, 793 F.3d 712, 720 (7th Cir. 2015) (en banc).




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       Next, the government says that Griffin has adduced no evidence supporting an inference

the law enforcement agents—as opposed to prosecutors—selected Griffin for arrest or

prosecution referral based on an unjustifiable criterion. ECF No. 71, p. 10. It is not clear what

the government means. The criminal complaint for Griffin’s arrest, charging him under §

1752(a), was filed by law enforcement agents, not the U.S. Attorney’s Office. ECF No. 1. The

law enforcement agents also dwelled at length on Griffin’s speech on the Capitol steps as a basis

for prosecution referral. Id., pp. 4-6. For example, the agents noted that Griffin made comments

“about his intent [on January 6] to lead the [crowd] in prayer.” Id., p. 5.

       The government seems to suggest that the conceded statistical reality that Griffin is in an

arrest set of one among over 1,000 similarly situated protesters is not attributable even in part to

the investigatory role of law enforcement. Because law enforcement agents independently

arrested Griffin on this charge and filed the criminal complaint, as they do in hundreds of other

January 6 cases, the government’s argument makes no sense.

Conclusion

       Griffin stands in a charging set of one among over 1,000 similarly situated protesters.

The government’s opposition itself indicates that it was his unique speech on the Capitol steps

that justified charging him and not others. At the least, then, he has satisfied the standard for

discovery into his selective enforcement and prosecution claim. The current evidence is itself

sufficient to dismiss the charges for an equal protection violation.

Dated: January 23, 2022                        Respectfully submitted,


                                               /s/ David B. Smith
                                               David B. Smith (D.C. Bar No. 403068)
                                               108 N. Alfred St.
                                               Alexandria, VA 22314



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                                             Phone:(703)548-8911
                                             Fax:(703)548-8935
                                             dbs@davidbsmithpllc.com

                                             Nicholas D. Smith (D.C. Bar No. 1029802)
                                             7 East 20th Street
                                             New York, NY 10003
                                             Phone: (917) 722-1096
                                             nds@davidbsmithpllc.com

                                             Attorneys for Couy Griffin


                                     Certificate of Service
       I hereby certify that on the third day of January 23, 2022, I filed the foregoing motion with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

to the following CM/ECF user(s):

              Janani Iyengar
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                     /s/ David B. Smith
                                                     David B. Smith, VA Bar No. 25930
                                                     David B. Smith, PLLC
                                                     108 North Alfred Street, 1st FL
                                                     Alexandria, Virginia 22314
                                                     (703) 548-8911 / Fax (703) 548-8935
                                                     dbs@davidbsmithpllc.com

                                                     Attorneys for Couy Griffin




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